9 U.S. 372
    5 Cranch 372
    3 L.Ed. 129
    SLOOP SALLYv.THE UNITED STATES.
    February Term, 1810
    
      1
      THIS was an appeal from the sentence of the district court for the district of Maine, condemning the sloop Sally and cargo for violation of the revenue laws of the United States. The appeal was directly to this court.
    
    
      2
      Rodney, Attorney-General.
    
    
      3
      No appeal lies from that court directly to this in a case where that court acts in the capacity of a district court. In such cases the appeal is expressly given to the circuit court for the district of Massachusetts.
    
    
      4
      By the 10th section of the judiciary act of 1789, vol. 1. p. 54. it is enacted that the 'district court in Maine district, shall, besides the jurisdiction herein before granted, have jurisdiction of all causes (except of appeals and writs of error) herein after made cognisable in a circuit court, and shall proceed therein, in the same manner as a circuit court; and writs of error shall lie from decisions therein, to the circuit court in the district of Massachusetts, in the same manner as from other district courts to their respective circuit courts.' And by the 21st section it is enacted, 'that from final decrees in a district court in causes of admiralty and maritime jurisdiction, where the matter in dispute exceeds the sum or value of three hundred dollars, exclusive of costs, an appeal shall be allowed to the next circuit court to be held in such district. Provided nevertheless, that all such appeals from final decrees as aforesaid, from the district court of Maine, shall be made to the circuit court, next to be holden after each appeal, in the district of Massachusetts.'
    
    
      5
      By the act of March 3d, 1803, vol. 6. p. 315. § 2. it is enacted, 'that from all final judgments or decrees rendered or to be rendered in any circuit court, or in any district court, acting as a circuit court, in any cases of equity, of admiralty and maritime jurisdiction, and of prize or no prize, an appeal, where the matter in dispute, exclusive of costs, shall exceed the sum or value of two thousand dollars, shall be allowed to the supreme court of the United States,' &amp;c.
    
    
      6
      In this case the court below could only act in its capacity of a district court, because such causes of admiralty and maritime jurisdiction are exclusively cognisable in a district court.
    
    
      7
      C. Lee, contra, contended, that there was a repugnance between the act of 1789, and that of 1803, the latter declaring that appeals in such cases should be directly to the supreme court.
    
    
      8
      But the Court was of opinion that this not being a case where the district court was acting as a circuit court, the appeal ought to have been to the circuit court of Massachusetts.
    
    
      9
      Appeal dismissed.
    
    